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    REVOCABLE.PERMIT TO ENTER AND USE LEASED PROPERTY


                             by and between


               CITY AND COUNTY OF SAN FRANCISCO


                                   and


 SAN FRANCISCO HOUSING DEVELOPMENT CORPORATION ("SFHDC"),
                                Permittee



  to enter and use a portion of the FILLMORE HERITAGE CENTER property
                   located at 1320-1330 Fillmore Street,
                         San Francisco, California



                            October 26, 2018.




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                         CITY AND COUNTY OF SAN FRANCISCO
                                REVOCABLE PERMIT
                            TO ENTER AND USE PROPERTY

                            (1320-1330 Fillmore Street, San Francisco)

       THIS PERMIT TO ENTER AND USE LEASED PROPERTY (this "Permit"), dated for
reference purposes only as of October 26, 2018, is made by and between the CITY AND
COUNTY OF SAN FRANCISCO, a municipal corporation, acting by and through the Director
of Property ("City"), and SAN FRANCISCO HOUSING DEVELOPMENT CORPORATION, a
California non-profit organization ("Permittee").

        City and Permittee agree as follows:

1.     PERMIT

        City confers to Permittee a revocable personal, unassignable, non-exclusive, subject to
City's reasonable access needs, and non-possessory privilege to enter upon and use a portion of
that certain real property leased by City from the Successor Agency to the Redevelopment
Agency of the City and County of San Francisco, commonly known as the Office of Community
Investment and Infrastructure, a public body, organized and existing under the laws of the State
of California ("Landlord"), located at 1320-1330 Fillmore Street in the City and County of San
Francisco (the "Property"), more particularly described in Exhibit A attached hereto (the
"Permit Area"), for the limited purpose and subject to the terms, conditions and restrictions set
forth below. The Property and the Permit Area are part of a mixed-use building located on the
comer of Fillmore and Eddy Streets (the "Building"). City and Landlord are parties to a
commercial lease dated August 23, 2005, as amended on October! 6, 2007 and May 20, 2008,
and as assigned to the City by letter agreement June 5, 2015 governing certain real property
including the Permit Area ("Master Lease") and, as such, this Permit shall at all times be subject
to the Master Lease. Permittee shall only use the Permit Area as outlined in Exhibit A and shall
ensure Permittee, its invitees and agents do not enter areas within 1320-1330 Fillmore Street not
included in the Permit Area. This Permit gives Permittee a license only, revocable at any time at
the will of City or Landlord, and notwithstanding anything to the contrary herein, this Permit
does not constitute a grant by City or Landlord of any ownership, leasehold, easement or other
property interest or estate whatsoever in the Permit Area, which is a portion of the area in the
Master Lease, or any portion thereof. The privilege given to Permittee under this Permit is
effective only insofar as the rights of City in the Permit Area are concerned, subject at all times
to the Master Lease, and Permittee shall obtain any further permission necessary because of any
other existing rights affecting the Permit Area.

2.    . USE OF PERMIT AREA

       2.1     Permitted Uses

       Pursuant to Section 18 .1 of the Master Lease, the permitted uses for the Property and
Permit Area allow general retail and/or commercial use which use enhances the jazz district
theme, or if such uses do not enhance the jazz district theme then they are not in conflict with the

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jazz district theme arid address other redevelopment goals and purposes, including meeting
community benefit objectives such as community economic development goals, and are
approved by the Landlord which approval shall not be unreasonably withheld ("Master Lease
Permitted Uses"). Therefore, based on the foregoing, the City grants the use of the Permit Area
to Permittee for the purpose of activating the Permit Area through marketing and booking events
to be held on and in the Permit Area by Permittee and third parties ("Sub-Permittees") with the
maximum number of attendees not more than that permitted by the City's Fire Department (the
"Permitted Use"). Permittee shall obtain at its own cost the services oflicensed, bonded and
insured security for all events with a minimum of one (1) security guard for every seventy-five
(75) attendees. Permittee may perform all acts reasonable and necessary in connection with the
use, operation, development and maintenance of the Permit Area for the Permitted Uses,
including without limitation: (i) the development and construction of temporary improvements,
as approved by the Director of Property and City and other regulatory agencies as further
described below; and (ii) the sale of food and beverages for onsite consumption. The use shall be
in accordance with and subject to the requirements of this Permit. The Director of Property shall
have the right, acting in his reasonable discretion, to prohibit any event that the Director of
Property determines could be disruptive to the neighborhood or is not appropriate for the
Building or the location, taking into account such factors as deemed relevant by the Director of
Property. The Director of Property shall use reasonable efforts to provide notice of any event that
it decides to prohibit to Permittee no later than fifteen (15) days prior to the event date.
Permittee shall obtain all permits and regulatory approvals as may be required under applicable
law in accordance with Permittee's use of the Permit Area. Nothing in this Permit shall be
deemed or considered a regulatory approval by any City agency.
       2.2     Required Community Benefits

        Peimittee acknowledges that City would not enter into this Permit if Permittee did not
agree to provide certain benefits, programs and events to the local Fillmore Community.
Examples of such programs are attached as Exhibit B, which may be amended from time to time
by City in its absolute and sole discretion. If at any time City reasonably determines that the
Permittee is not fulfilling the intent of Exhibit B, City shall reserve the right to immediately
terininate this Permit.


       2.3     Set-up I Clean-up

               Permittee may use the Permit Area for the purpose of setting-up, cleaning up and
preparing the Permit Area prior to and upon completion of the Permitted Uses. Permittee may
perform all acts reasonable and necessary in connection with the preparing for the use, operation,
development and maintenance of the Permit Area for the Permitted Uses ("Permitted Access").
Permitted Access shall be limited to Permittee and its agents. Permitted Uses are strictly
prohibited except as allowed pursuant to Section 2.3 below.

       2.4     Limitations On Uses

       Section 18.2 of the Master Lease defines prohibited uses of the Property and Permit Area
("Non-Permitted Uses"), which uses may be allowed with the written consent of the Landlord,
in its sole and absolute discretion. Exhibit E lists the Non-Permitted Uses and indicates which
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Non-Permitted uses are conditionally allowed under the terms of the Permit, as of as City's
execution of and Landlord's consenting to, this Permit. The Landlord has agreed to consent to
the conditional uses described in Exhibit Eat the request of the City. City reserves the right to
revoke any conditional use of any Non-Permitted Use at any time, either in its sole discretion or
upon notice from Landlord. Neither, Permittee, nor its Agents, Vendors, Sub-Permittees, or
Invitees (each as defined below), shall use, occupy or permit the use or occupancy of any of the
Permit Area in any unlawful manner or for any illegal purpose, or permit any refuse to remain
for an unreasonable time on or about the Permit Area except in designated trash receptacles.
Permittee's use and operations on the Permit Area shall be conducted in a safe and lawful
manner and comply with all zoning and other area specific restrictions, if any. Permittee shall not
conduct any business, place any sales display, or advertise in any manner in areas on the
Property outside the Building, except as approved by City in its regulatory capacity in
accordance with City's standard permitting process for the use of streets and sidewalks. In
addition to any regulatory requirements, for use of the existing exterior marquee and placing any
signs in the front window of the Gallery advertising the contact information to book the Permit
Area for events, Permittee shall first obtain written approval from the Director of Property,
which approval shall not be unreasonably withheld. Without limiting the foregoing, Permittee
shall not conduct or permit on or about the Permit Area, any of the following activities
("Prohibited Activities"): (i) any activity or use prohibited under Section 3 or other Sections of
this Permit; (ii) any activity that is not listed within the Permitted Uses or otherwise approved by
the Director of Property in writing; (iii) any activity or object that will overload or cause damage
to the Permit Area and Building or include more persons than is permitted by the City's Fire
Marshall; (iv) use of the Permit Area or Building for sleeping or personal living quarters; or (v)
any use by a group or organization that violates the nondiscrimination provisions or other
provisions set forth in this Permit. Upon request by either party, City and Permittee agree to meet
and confer for purposes of developing and maintaining effective noise, security and crowd
control measures and programs and to address any other operational matters relating to the use of
the Permit Area, and Permittee agrees to follow such measures and programs as directed by City
from time to time.

        2.5     Amplified Sound; Intellectual Property Rights

         Permittee acknowledges and agrees that if Permittee desires to use amplified sound at the
 Permit Area for an event, Permittee must apply for and obtain all required permits for use of
 amplified sound from City, acting in its regulatory capacity, including the City's Entertainment
 Commission. Further, Permittee shall be solely responsible for obtaining any necessary
 clearances or permissions from third parties for the use of intellectual property on the Permit
 Area with respect to its activities thereon, including, but not limited to musical or other
 performance rights. Notwithstanding above, Permittee shall not use amplified sound that
 exceeds volumes permitted by applicable law in any part of the Permit Area. Amplified sound
 outside of the concert hall shall be limited to reasonable levels within the screening room for the
 purpose of media presentations, as well as ambient sound within the restaurant and lounge,
·except as otherwise agreed to in writing by the Permittee, the Fillmore Heritage Center
 Homeowners Associations and any applicable law enforcement agencies.



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        2.6    Indoor Advertising and Signs

        Permittee shall have the right to install signs and advertising inside the Permit Area,
subject to applicable law. Permittee may not place any advertisements or.signs, including but not
limited to awnings, canopies, and banners (other than the existing exterior marquee), on the
exterior of the Building, or any signs or advertising on the interior of the Building which are
visible from the outside, without the Director of Property's prior written consent, which consent
shall not be unreasonably withheld or delayed.

       2.7     Vendors, Sub-Permittees, and Mobile Food Facilities

                (a)    Generally. City acknowledges that an important component of
Permittee's event depends on Permittee contracting with third parties ("Sub-Permittees") and
vendors ("Vendors") to operate in the Permit Area under the terms and conditions of this Permit.
Permittee shall have the right to allow such Sub-Permittees and Vendors to operate at the Permit
Area for an applicable event during specified event hours, provided, however, (i) the proposed
use of the Permit Area shall be consistent with the provisions of this Permit, (ii) Permittee shall
be responsible for the conduct and operations of the Vendor, Sub-Permittee, and their respective
Agents (as defined in Section 4.2 below) in the Permit Area, and (iii) Permittee shall cause each
Vendor, Sub-Permittee, and their respective Agents to comply with the applicable terms and
conditions of this Permit.

               (b)     Appearance and Design of Mobile Food Facility. Permittee shall ensure
that each mobile food facility, if any, including associated garbage receptacles, fixtures and
equipment, be attractive in appearance and be kept clean and free from clutter at all times.

                (c)     Quality of Products. Permittee hereby agrees that any product, food or
refreshments offered for sale by any Vendor or Sub-Permittee under this Permit shall be of good
quality and in compliance with all state and local regulations applicable to such activities. City
shall have the right to reasonably object to the quality of the food, beverages, and service(s)
provided and Permittee shall have the obligation to promptly address those objections until
corrected to the satisfaction of City.

                 (d)   Prohibition of Advertising. No vehicle, mobile food facility or
equipment shall be used for advertising of any kind, except for the name and logo of the Sub-
Permittee' s arid Vendor's company and small generic illustrations of the products that are sold.
The design and placement of all signs in the Permit Area must be approved in writing in advance
by City.

                (e)    Standards of Conduct, Customer Service and Customer Contact
Number. Permittee shall cause Sub-Permittees and Vendors to display accurate price signs
visible to customers. Permittee, the Sub-Permittees, the Vendors and their Respective Agents
shall conduct themselves in a professional, courteous and respectful manner at all times.
Permittee shall, and shall use reasonable efforts to cause the Sub-Permittees, the Vendors and
their respective Agents, to conduct themselves in a professional, courteous and respectful
manner at all times. The Permittee, not City, shall be responsible for handling, addressing and
responding to any customer concerns regarding any service matters pertaining to the Sub-

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Pennittees and Vendors including refund requests, product complaints or other service matters.
Pennittee shall cause Sub-Permittees to have visible signage at and in the Permit Area
identifying Sub-Pennittee's company name and the phone number for comments or complaints.

               (f)   Prohibition of Alcohol. The sale and use of alcohol is prohibited unless
Pennittee or Sub-Permittee has obtained all required Approvals.

                (g)     Vendor Agreement Regarding Waiver and Release. Before any
Vendor, Sub-Permittee, or other third party operates in the Permit Area pursuant to this Permit,
Pennittee shall obtain from such Vendor, Sub-Permittee, or other third party a signed waiver and
release in the form attached hereto as Exhibit C, or in such other form and content approved by
City's Director of Property or his or her designee in writing. Permittee shall retain such executed
waiver and release forms, and shall provide the original executed forms to City at City's written
request given from time to time.

               (h)      Vendor Licensing. Pennittee shall ensure that each Vendor, Sub-
Pennittee, or other third party operating in or at the Permit Area has obtained all required
Approvals and all Mobile Food Facilities have complied with the current California Uniform
Retail Food Facilities Laws and the San Francisco Department of Public Health conditions.

       2.8     Access by City

        Pennittee acknowledges that City, its agents, and invitees may require access to the
Permit Area during the Tenn. City shall use reasonable efforts to provide notice and coordinate
its access around events. City shall have the fight to access the Permit Area at any time during
the Tenn.

       2.9     Approvals and Identification of Agents, Vendors, and Sub-Permittees

        Before commencing any of the activities at the Permit Area permitted under this Permit;
Pennittee shall obtain all permits, licenses and approvals (collectively, "Approvals") of any and
all regulatory agencies required to commence such activities. Promptly upon request, Pennittee
shall deliver copies of them to the Director of Property, and if any event or activity requires a
permit, Permittee shall display such permit in a conspicuous place during the event. Permittee
shall also deliver copies of Vendor and Sub-Permittee agreements upon request, together with all
information regarding the identity of Vendors, Sub-Pennittees, and their respective Agents.
Pennittee recognizes and agrees that no approval by City for purposes of Pennittee's activities
hereunder shall be deemed to constitute the Approval of any federal, state or local regulatory
authority with jurisdiction, and nothing herein shall limit Pennittee's obligation to obtain all such
Approvals required for the events or any activities conducted at an event by Permittee, its
Agents, Sub-Permittees, or its Vendors.




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3.      RESTRICTIONS ON USE

        Permittee agrees that, by way of example only and without limitation, the following uses
of the Permit Area by Permittee or any other person claiming by or through Permittee are
inconsistent with the limited purpose of this Permit and are strictly prohibited as provided below:

       3.1     Improvements and Alterations

        Permittee shall not alter any existing structures or improvements on or in the Permit Area
nor construct any permanent structures or improvements on or in the Permit Area that would
require an alteration permit from the Department of Building Inspection ("Improvements" and
"Alterations'} Except as otherwise expressly provided and approved under this Permit,
Permittee shall not construct or place any temporary structures or improvements on or in the
Permit Area. Permittee shall not dump or dispose of refuse or other unsightly materials on, in,
under or about the Permit Area except in designated trash receptacles, which such regular trash
removal services shall be provided by the Permittee at Permittee's cost.

       3.2     Hazardous Material

         Permittee shall not cause, nor shall Permittee allow any of its Agents or Permittee's
clients, customers, Vendors, Sub-Permittees, invitees, guests, members, licensees, assignees or
permittees ("Invitees") to cause, any Hazardous Material (as defined below) to be brought upon,
kept, used, stored, generated or disposed of in, on or about the Permit Area, or transported to or
from the Permit Area. Permittee shall immediately notify City when Permittee learns of, or has
reason to believe that, a release of Hazardous Material has occurred in, on or about the Permit
Area. Permittee shall further comply with all laws requiring notice of such releases or threatened
releases to governmental agencies, and shall take all action necessary to mitigate the release or
minimize the spread of contamination. In the event that Permittee or its Agents, Sub-Permittees,
Vendors, or Invitees cause a release of Hazardous Material, Permittee shall, without cost to City
and in accordance with all laws and regulations, return the Permit Area to the condition
immediately before the release. In connection therewith, Permittee shall afford City a full
opportunity to participate in any discussion with governmental agencies regarding any settlement
agreement, cleanup or abatement agreement, consent decree or other compromise proceeding
involving Hazardous Material. For purposes hereof, "Hazardous Material" means material that,
because of its quantity, concentration or physical or chemical characteristics, is at any time now
or hereafter deemed by any federal, state or local governmental authority to pose a present or
potential hazard to public health, welfare or the environment. Hazardous Material includes,
without limitation, any material or substance defined as a "hazardous substance, pollutant or
contaminant" pursuant to the Comprehensive Environmental Response, Compensation and
Liability Act of 1980, as amended, 42 U.S.C. Sections 9601 et seq., or pursuant to Section 25316
of the California Health & Safety Code; a "hazardous waste" listed pursuant to Section 25140
of the California Health & Safety Code; any asbestos and asbestos containing materials whether
or not such materials are part of the Permit Area or are naturally occurring substances in the
Permit Area, and any petroleum, including, without limitation, crude oil or any fraction thereof,
natural gas or natural gas liquids. The term "release" or "threatened release" when used with
respect to Hazardous Material shall include any actual or imminent spilling, leaking, pumping,


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pouring, emitting, emptying, discharging, injecting, escaping, leaching, dumping, or disposing
in, on, under or about the Permit Area.

        3.3    Nuisances; Damage

        Permittee shall not conduct any activities on or about the Permit Area that constitute
waste, nuisance or unreasonable annoyance (including, without limitation, emission of
objectionable odors, noises or lights) to City, to the owners or occupants of neighboring property
or to the public. Permittee shall not do anything about the Permit Area that will cause damage to
any of City's property.

        3.4    No Smoking

        Smoking is prohibited in or on the Permit Area, including inside the Building. Permittee
shall not knowingly or intentionally permit, or allow its Vendors or Sub-Permittees to permit,
smoking in or on the Permit Area.

4.     MAINTENANCE AND REPAIR

       4.1     Responsibility for Maintenance of Permit Area

         During the Permit term, City shall repair and maintain the Permit Area and all
improvements and facilities placed in or on the Permit Area, at no cost to Permittee, in as-is
condition pursuant to Section 18 of this Permit. Permittee shall ensure no personal property is
removed from the Permit Area during its events. Permittee shall bear all costs or expenses
incurred as a result of damage caused to the Permit Area through the acts of Permittee, Sub-
Permittee and their invitees and agents and shall be responsible for replacing or repayment of the
in-kind value to City for any personal property from the Permit Area lost through an act of
Permittee, Sub-Permittee or their invitees and agents during an event. The elevator located in the
Permit Area is believed to be operable and requires inspection and certification by the California
Department of Industrial Relations for the issuance of a valid permit. City will use reasonable
efforts to try to obtain the required inspection and certification in compliance with all applicable
laws within a reasonable timeframe. City may elect to pay a portion of the cost ofrepairing and
permitting the elevator, but shall have no obligation to do so. Any cost not paid by City to repair
and permit the elevator will be paid by Permittee, should Permittee desire to utilize the
mezzanine, bar, and administrative offices served by the elevator. Once a valid elevator permit
is obtained, Permittee may use and make available, in accordance with this Permit, all areas
accessible by the elevator (including the mezzanine bar and administrative offices).

       4.2     Exercise of Due Care

         Permittee shall use, and shall cause its officers, directors, employees, agents, affiliates,
subsidiaries, licensees and contractors, Sub-Permittees, Agents and Vendors, and their respective
heirs, legal representatives, successors and assigns, and each of them ("Agents") to use, due care
at all times to avoid any damage or harm to the Permit Area and to City's leased property. City
shall have the right to approve and supervise any work. Permittee shall take reasonable care, both
independently and upon request by the City, to prevent and suppress fires on and adjacent to the
Permit Area attributable to Permittee's use hereunder.
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        4.3    Cooperation with City Personnel

       Permittee and its Agents shall work closely with City personnel, and its designated
consultants, to minimize any potential disturbance (even if temporary) of the natural features of
the Permit Area and to avoid disruption (even if temporary) of persons or property in or about
the Permit Area. Before any work, if any, at, on, in or about the Permit Area, Permittee and its
Agents shall contact the Director of Property and the City's Preservation Coordinator at the
Planning Department. City personnel will respond reasonably promptly when Permittee and its
Agents contact City personnel pursuant to this Section. Designated points of contact between the
City and Permittee shall be exchanged prior to the execution of this Permit.

        4.4    Permittee's Personal Property

        All furniture, trade fixtures, office equipment and articles of movable personal property
installed in the Permit Area by or for the account of Permittee, without expense to City, and that
can be removed without structural or other damage to the Property (collectively, "Permittee's
Personal Property") shall be and remain Permittee's property. Permittee may remove its
Personal Property at any time during the Term, subject to the provisions of Section 14 (Surrender
of Permit Area). Permittee shall pay any taxes or other impositions levied or assessed upon
Permittee's Personal Property, at least ten (10) days before delinquency, and shall deliver
satisfactory evidence of such payment to City upon request. Except for Permittee's Personal
Property, or as may be specifically provided to the contrary in the plans that have received all
Approvals, all appurtenances, fixtures, improvements, equipment, additions, and other property
permanently attached or affixed to or installed in the Permit Area during the Term shall be and
remain City's property. Permittee may not remove any such property at any time during or after
the Term unless City so allows or requests.

       4.5     Security

        Permittee at all times during the hours of an event put on by Permittee or a Sub.,.Permittee
in the Permit Area shall be responsible for on-site security in and about the Permit Area. It shall
be Permittee's responsibility to contact City's Police Department to determine appropriate
security staff for art event, if appropriate. In the event that additional police or other security
services are required to meet the City's security requirements for an event, Permittee agrees to
hire additional security staff and/or enter into an agreement with City's Police Department, and
to pay for such additional services, in accordance with the provisions of San Francisco
Administrative Code Chapter 1OB. In no event shall Permittee be responsible for providing
security outside of the hours of an event or for areas of the Property other than the Permit Area.

       4.6     Supplies

         At no cost to City, Permittee shall provide all necessary equipment, supplies and services
it requires for the events and operations of the Permit Area. Permittee shall have the right to use
the utilities servicing the Permit Area, including but not limited to water, electricity and gas, but
shall not excessively use, borrow, and/or take any of City's utilities without the written approval
from the Director of Property or his/her designee. Permittee shall have the right to use fixtures,
furnishings and equipment currently in the Permit Area. The City and Landlord make no

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 representations or guarantees as to the condition of existing furnishings and equipment.
 Permittee may install certain temporary and removable facilities and improvements, such as
 chairs, lights, speakers, and tables, in the Permit Area during events. Immediately following each
 event, Permittee shall remove all debris and facilities and restore the Permit Area to the
 satisfaction of City.

 5.      IMPROVEMENTS

         5.1     No Improvements or Alterations by Permittee

        Permittee shall not undertake any improvements or alterations to the Permit Area or
 Property that would require a permit to be obtained from the Department of Building Inspection.

         Notwithstanding this Section, Permittee recognizes and agrees that no approval by City
 for purposes of Permittee' s installation work hereunder shall be deemed to constitute the
 approval of any federal, state or local regulatory authority with jurisdiction, and nothing herein
 shall limit Permittee's obligation to obtain all such regulatory approvals, at Permittee's sole cost

         5.2    Wages and Working Conditions

                (a)       Permittee agrees that any person performing labor in connection with the
  Improvements or with any other facilities or improvements to the Permit Area that are a "public
  work" as defined under San Francisco Administrative Code Section 6.22(E) or California Labor
  Code Section 1720 et seq. (which includes certain construction, alteration, demolition,
  installation, maintenance, repair, carpet laying, or refuse hauling work if paid for in whole or part
  out of public funds), whether performing such labor for Permittee or a Vendor, shall be paid not
  less than the highest prevailing rate of wages consistent with the requirements of Section 6.22(E)
  of the San Francisco Administrative Code, and shall be subject to the same hours and working
  conditions, and shall receive the same benefits as in each case are provided for similar work
  performed in San Francisco County. Permittee shall include, and shall cause its Sub-Permittees
  and Vendors to include, in any contract for such Improvements or other facilities or
  improvements to the Permit Area, a requirement that all persons performing labor under such
  contract ~hall be paid not less than the highest prevailing rate of wages for the labor so
· performed. Permittee shall require any contractor of Permittee or Vendor to provide, and shall
  deliver to City upon request, certified payroll reports with respect to all persons performing such
  labor at the Permit Area.

                  (b)    Permittee acknowledges that City law entitles individuals engaged in
 theatrical or technical services related to the presentation of a show at the Permit Area, including
 individuals engaged in rigging, sound, projection, theatrical lighting, videos, computers, draping,
 carpentry, special effects, and motion picture services, to be paid not less than the Prevailing
 Rate of Wages (which includes fringe benefits or matching equivalents) fixed by the Board of
 Supervisors, unless the Show meets any of the exemptions in San Francisco Administrative Code
 Section 21 C.4(b). Capitalized terms in this subsection shall have the meanings provided in San
 Francisco Administrative Code Section 21.C4. Accordingly, Permittee, as a condition of this
 Permit, agrees that:


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                       Permittee shall comply, and cause its Vendors to comply, with the
                       obligations in San Francisco Administrative Code Section 21 C.4, and shall
                       require its Sub-permittees, contractors, and subcontractors to comply with
                       the obligations in San Francisco Administrative Code Section 21 C.4,
                       including the payment of Prevailing Rate of Wages to individuals engaged
                       in theatrical or technical services related to the presentation of a Show at
                       the Permit Area. In addition, if Permittee, Sub-Permittee, Vendor, or their
                       respective Agents fails to comply with these obligations, City shall have
                       all available remedies against Permittee to secure compliance and seek
                       redress for workers who provided the services as described in San
                       Francisco Administrative Code Section 21C.7, together with the remedies
                       set forth in this Permit.

                       City may inspect and/or audit any workplace, job site, books and records
                       pertaining to the presentation of a Show at the Permit Area, and may
                       interview any individual who provides, or has provided, work involving
                       theatrical or technical services for the Show at the Permit Area.

                       Permittee shall provide to City (and to require any Sub-Permittee,
                       contractor or subcontractor who maintains such records to provide to
                       City), upon request, immediate access to all workers' time sheets, payroll
                       records, and paychecks for inspection in so far as they relate the
                       presentation of a Show at the Permit Area.

       Permittee and its Contractor may obtain a copy of the current Prevailing Rate of Wages
from City, including its Office of Labor Standards Enforcement. Permittee and its Contractor
acknowledges that the City's Board of Supervisors may amend such Prevailing Rate of Wages
and agrees that Contractor and any Subcontractors shall be bound by and shall fully comply with
any such amendments by the Board of Supervisors.

       For current Prevailing Wage rates, see www.sfaov.org/olse/prevailingwages or call the
City's Office of Labor Standard Enforcement at 415-554-6235.

       5.3     City's Alterations of the Building and Building Systems

         City reserves the right at any time to make alterations, additions, repairs, deletions or
improvements to the common areas or any other part of the Building or the Building Systems,
provided that any such alterations or additions shall not materially adversely affect the functional
utilization of the Permit Area for the uses permitted hereunder. The City shall use reasonable
efforts to notify Permittee seven (7) days in advance of any Work affecting the Permit Area and
shall cooperate with Permittee in good faith to schedule such Work so as to minimize potential
disruption during events.




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6.      TERM OF PERMIT

        (a)     Term

               The Term of the Permit, including the Permittee's allowable uses
               of Permitted Uses and Permitted Access at specific times within
               the Permit Area shall begin on the date this Permit is fully
               executed, and expire on March 31, 2019.

        (b)    Expiration of Term

        Any continued use of the Permit Area after the expiration of the term without City's
consent shall constitute a default by Permittee and entitle City to exercise any or all of its
remedies as provided in this Permit and at law or in equity. All rights of City under this Permit,
including all indemnifications, shall remain in place during any such unauthorized holdover. City
may allow an event to take place following a notice of termination, and any such acceptance
shall not constitute a waiver of the City's termination rights or an approval of any holdover or
require City to give any additional notice of termination. City shall retain all rights at law or in
equity to cause Permittee to vacate the Permit Area.

7.      INSURANCE

       (a)     Permittee shall procure and keep in effect at all times during the term of this
Permit, at Permittee's expense, insurance as follows:

              (i)     General Liability Insurance with limits not less than One Million Dollars
($1,000,000) each occurrence Combined Single Limit for Bodily Injury and Property Damage,
including coverages for Contractual Liability, Personal Injury, Independent Permittees,
Explosion, Collapse and Underground (XCU), Broadform Property Damage, Sudden and
Accidental Pollution, Products Liability and Completed Operations;

              (ii)    Automobile Liability Insurarice with limits not less than One Million
Dollars ($1,000,000) each occurrence Combined Single Limit for Bodily Injury and Property
Damage, including coverages for owned, non-owned and hired automobiles, as applicable, and
Sudden and Accidental Pollution; and

                (iii)   Workers' Compensation Insurance with Employer's Liability Coverage
with limits of not less than One Million Dollars ($1,000,000) each accident.

              (iv)    During any construction or improvement work, such additional insurance
as may be required by City, including Builders Risk Insurance on an "All Risk" basis with limits
approved by the Director of Property.

        (b)     All liability policies required hereunder shall provide for the following: (i) name
as additional insureds both the Successor Agency to the Redevelopment Agency of the City and
County of San Francisco its officers, agents and employees; and the City and County of San
Francisco, its officers, agents and employees; and (ii) specify that such policies are primary
insurance to any other insurance available to the additional insureds, with respect to any claims
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arising out of this Permit and that insurance applies separately to each insured against whom
claim is made or suit is brought. Such policies shall also provide for severability of interests and
that an act or omission of one of the named inslireds which would void or otherwise reduce
coverage shall not reduce or void the coverage as to any insured, and shall afford coverage for all
claims based on acts, omissions, injury or damage which occurred or arose (or the onset of which
occurred or arose) in whole or in part during the policy period.

       (c)     All insurance policies required to be maintained by Permittee hereunder shall be
endorsed to provide for thirty (30) days' prior written notice of cancellation for any reason, non-
renewal or reduction in coverage to both Permittee and City. Notice to City shall be mailed to the
address(es) for City set forth in Section 32 (Notices).

        Prior to Landlord providing consent to this Permit, and any public works or permanent
Improvements under this Permit, Permittee shall deliver to City certificates of insurance and
additional insured policy endorsements from insurers in a form satisfactory to City, evidencing
the coverages required hereunder, together with complete copies of the policies at City's request.
In the event Permittee shall fail to procure such insurance, or to deliver such policies or
certificates, City may procure, at its option, the same for the account of Permittee, and the cost
thereof shall be paid to City within five (5) days after delivery to Permittee of P · .,1udor.
Failure to maintain insurance shall constitute a material breach of this Penmt

            (d)      Should any of the required insurance be prov: ' .. -..auer a form of coverage that
incluu-.;:::. . ~l'\neral aimLJ agbregate limit or prov;~·~ .1w1 claims investigation or legal defense
costs be inclUQt;\l  H i .JU\,H b'-'·. -~~ <> '1"JHJl n~, 0 1..::i:;ate limit, such general aggregate limit shall "
                                          1



double the occurrence or claims limns sp"'--~_r: --1 "hove.

        (e)     Should any of the required insurance oc provideu ...... _· .,. "',.J::iims made form,
Permittee shall maintain such coverage continuously throughout the t:::nn <'! l1uu __ --h:. ---~,
without lapse, for a period of three (3) years beyond the Permit expiration, to the t...          .1mt,
should any occurrences during the Permit term give rise to claims made after expiration of the
Permit, such claims shall be covered by such claims-made policies.

        (t)     Upon City's request, Permittee and City shall periodically review the limits and
types of insurance carried pursuant to this Section. If the general commercial practice in the City
and County of San Francisco is to carry liability insurance in an amount or coverage materially
greater than the amount or coverage then being carried by Permittee for risks comparable to
those associated with the Permit Area, then City in its sole discretion may require Permittee to
increase the amounts or coverage carried by Permittee hereunder to conform to such general
commercial practice.

       (g)    Approval of any insurance by City shall not relieve or decrease the liability of
Permittee hereunder.

        (h)    All sub-permittees, contractors, or subcontractors operating within the Permit
Area or Property, are required to provide all necessary insurance. The Permittee shall ensure that
the sub-permittee, contractor, or subcontractor shall provide all necessary insurance and shall
name both the Successor Agency to the Redevelopment Agency of the City and County of San

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Francisco, its officers, agents and employees, and the City and County of San Francisco, its
officers, agents, and employees and the Permittee listed as additional insureds.

        (i)    Permittee' s compliance with the provisions of this Section shall in no way relieve
or decrease Permittee's indemnification obligations under this Permit or any of Permittee's other
obligations hereunder. Notwithstanding anything to the contrary in this Permit, this Permit shall
terminate immediately, without notice to Permittee, upon the lapse of any required insurance
coverage. Permittee shall be responsible, at its expense, for separately insuring Permittee's
personal property.

8.      ACCESS BY CITY

        City reserves for itself and any of its designated agents, the right to enter the Permit Area
as follows: (a) on a regular basis without advance notice to supply any necessary or agreed-upon
service to be provided by City hereunder; (b) on an occasional basis, at all reasonable times after
giving Permittee reasonable advance written or oral notice, to show the Property to prospective ·
tenants or other interested parties, to post notices of non-responsibility, to conduct any
environmental audit of Permittee's use of the Permit Area, to rep.air, alter or improve any part of
the Building, Building Systems or the Property, and for any other lawful purpose; and (c) on an
emergency basis without notice whenever City believes that emergency access is required. City
shall have the right to use any means that it deems proper to open doors in an emergency in order
to obtain access to any part of the Permit Area, and any such entry shall not be construed or
deemed to be a forcible or unlawful entry into or a detainer of the Permit Area, or an evi9tion,
actual or constructive, of Permittee from the Permit Area or any portion thereof. Permittee shall
not alter any lock or install any new or additional locking devices without the prior written
consent of City. All locks installed in the Permit Area (excluding Permittee's vaults, safes or
special security areas, if any, designated by Permittee in writing to City) shall be keyed to the
Building master key system, and City shall at all times have a key with which to unlock all such
doors.

9.      LIENS AND ENCUMBRANCES

        9.1    Liens

         Permittee shall keep the Permit Area and the rest of the Property free from any liens
arising out of any work performed, material furnished or obligations incurred by or for Permittee.
In the event Permittee does not, within five (5) days following the imposition of any such lien,
cause the lien to be released of record by payment or posting of a proper bond, City shall have, in
addition to all other remedies, the right, but not the obligation, to cause the lien to be released by
such means as it shall deem proper, including, but not limited to, payment of the claim giving
rise to such lien. All such sums paid by City and all expenses incurred by it in connection
therewith (including, without limitation, reasonable attorneys' fees) shall be payable to City by
Permittee upon demand. City shall have the right to post on the Permit Area any notices that City
may deem proper for the protection of City, the Property, and the Building, from mechanics' and
material supplier's liens. Permittee shall give to City at least fifteen (15) days' prior written
notice of commencement of any Alteration, repair or construction on the Permit Area. Permittee
agrees to indemnify, defend and hold City, the Landlord and its Agents harmless from and
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against any claims for mechanic's, material supplier's or other liens in connection with any
Alterations, repairs or construction on the Permit Area caused by or on behalf of Permittee, or
materials furnished or obligations incurred by or for Permittee.

       9.2     Encumbrances

        Permittee shall not create, permit or suffer any liens or encumbrances affecting any
portion of the Permit Area, the Property or City's or Landlord's interest therein or under this
Permit.

10.    ·SECURITY FOR PERFORMANCE

       No security deposit shall be provided by Permittee.

11.    COMPLIANCE WITH LAWS

        Permittee shall, at its expense, conduct and cause to be conducted all activities on the
Permit Area allowed hereunder in a safe and prudent manner and in compliance with all laws,
regulations, codes, ordinances and orders of any governmental or other regulatory entity
(including, without limitation, the Americans with Disabilities Act and any other disability
access laws), whether presently in effect or subsequently adopted and whether or not in the
contemplation of the parties, except that Permittee is not responsible for any non-compliance that
existed as of the effective date (including without limitation the non-compliance with applicable
construction-related accessibility requirements pursuant to California Civil Code Section 55.53,
as disclosed in Section 18 below). Permittee shall, at its sole expense, procure and maintain in
force at all times during its use of the Permit Area any and all business and other licenses or
approvals necessary to conduct the activities allowed hereunder. Permittee understands and
agrees that City is entering into this Permit in its capacity as a property owner with a proprietary
interest in the Permit Area and not as a regulatory agency with police powers. Nothing herein
shall limit in any way Permittee's obligation to obtain any required regulatory approvals from
City departments, boards or commissions or other governmental regulatory authorities or limit in
any way City's exercise of its police powers.

12.    REMOVAL OR ALTERATION OF IMPROVEMENTS

        Without limiting any of City's other rights hereunder, Permittee shall promptly, at City's
request, alter or remove at its sole expense any and all temporary improvements or other property
installed or placed in, on, under or about the Permit Area by Permittee or its Agents, and
Permittee shall repair at no cost to City any damage caused to the Permit Area by any such
removal. In the event of an emergency City may, at its sole option and without notice, alter,
remove or protect at Permittee's sole expense, any and all facilities, improvements, plantings or
other property installed or placed in, on, under or about the Permit Area by Permittee.

13.    SURRENDER

        Upon the expiration of this Permit or within twenty (20) days after any sooner revocation
or other termination of this Permit, Permittee shall remove all of its property, Improvements not
approved by City, debris, waste, recyclables, compost and excess dirt placed on or in the Permit
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Area by Permittee or its Agents, Sub-Permittees, Vendors, or Invitees and surrender the Permit
Area broom clean, free from hazards and clear of all debris, subject to reasonable wear and tear
and damage caused by casualty. Before termination of this Permit, Permittee shall repair, at its
cost, any damage to the Permit Area caused by Permittee, its Agents, Sub-Permittees, Vendors or
Invitees, subject to reasonable wear and tear and damage caused by casualty. Permittee's
obligations under this Section shall survive any termination of this Permit.

14.    WAIVER OF CLAIMS; WAIVER OF CONSEQUENTIAL AND INCIDENTAL
       DAMAGES

        (a)     Neither the Landlord, the City nor any of its commissions, departments, boards,
officers, agents or employees ("City Agents") shall be liable for any damage to the property of
Permittee, its officers, agents, employees, contractors or subcontractors, or their employees, or
for any bodily injury or death to such persons, resulting or arising from the condition of the
Permit Area or its use by Permittee except as caused by the gross negligence or willful
misconduct of the Landlord, the City or City Agents.

        (b)     Permittee acknowledges that this Permit is freely revocable by City, and in view
of such fact, Permittee expressly assumes the risk of making any expenditures in connection with
this Permit, even if such expenditures are substantial. Without limiting any indemnification
obligations of Permittee or other waivers contained in this Permit and as a material part of the
consideration for this Permit, Permittee fully RELEASES, WAIVES AND DISCHARGES
forever any and all claims, demands, rights, and causes of action against, and covenants not to
sue, the Landlord, the City, their respective departments, commissions, officers, directors and
employees, and all persons acting by, through or under each of them, under any present or future
laws, statutes, or regulations, including, but not limited to, any claim for inverse condemnation
or the payment of just compensation under the law of eminent domain, or otherwise at equity, in
the event that City exercises its right to revoke or terminate this Permit.

        (c)     Permittee acknowledges that it will not be a displaced person at the time this
Permit is terminated or revoked or expires by its own terms, and Permittee fully RELEASES,
WAIVES AND DISCHARGES forever any and all claims, demands, rights, and causes of action
against, and covenants not to sue, the Landlord, the City, their respective departments,
commissions, officers, directors and employees, and all persons acting by, through or under each
of them, under any present or future laws, statutes, or regulations, including, without limitation,
any and all claims for relocation benefits or assistance from City under federal and state
relocation assistance laws.

        Permittee expressly acknowledges and agrees that except as to damage arising out of the
gross negligence or willful misconduct of the Landlord, the City or the City Agents and all
persons acting by, through or under each of them, and as a material part of the consideration for
this Permit, Permittee fully RELEASES, WAIVES AND DISCHARGES forever any and all
claims, demands, rights, and causes of action against for consequential and incidental damages
(including without limitation, lost profits and interference with contractual relations), and
covenants not to sue for such damages, the Landlord, the City, City Agents, and all persons
acting by, through or under each of them, arising out of this Permit or the uses authorized


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hereunder, including, without limitation, any interference with uses conducted by Permittee
pursuant to this Permit.

        (d)    In connection with the foregoing releases, Permittee acknowledges that it is
familiar with Section 1542 of the California Civil Code, which reads:

               A general release does not extend to claims which the creditor
               does not know or suspect to exist in his or her favor at the time
               of executing the release, which if known by him or her must
               have materially affected his or her settlement with the debtor.

Permittee acknowledges that the releases contained herein include all known and unknown,
disclosed and undisclosed, and anticipated and unanticipated claims. Permittee realizes and
acknowledges that it has agreed upon this Permit in light of this realization and, being fully
aware of this situation, it nevertheless intends to waive the benefit of Civil Code Section 1542, or
any statute or other similar law now or later in effect. The releases contained herein shall survive
any termination of this Permit.

15.    REPAIR OF DAMAGE

        If any portion of the Permit Area or any property of the Landlord or the City located on
or about the Permit Area is damaged by any of the activities conducted by Permittee hereunder,
aside from reasonable wear and tear, Permittee shall immediately, at its sole cost, repair any and
all such damage and restore the Permit Area or property to its previous condition.



16.    CITY'S RIGHT TO CURE DEFAULTS BY PERMITTEE

        If Permittee fails to perform any of its obligations under this Permit, to restore the Permit
Area or repair damage, or if Permittee defaults in the performance of any of its other obligations
under this Permit, then City may, at its sole option, remedy such failure for Permittee's account
and at Permittee's expense by providing Permittee with five (5) business days' prior written or
oral notice of City's intention to cure such default (except that no such prior notice shall be
required in the event of an emergency as reasonably determined by City). Such action by City
shall not be construed as a waiver of any rights or remedies of City under this Permit, and
nothing herein shall imply any duty of City to do any act that Permittee is obligated to perform.
Permittee shall pay to City upon demand, all costs, damages, expenses or liabilities reasonably
incurred by City, including, without limitation, reasonable attorneys' fees, in remedying or
attempting to remedy such default. Permittee's obligations under this Section shall survive the
termination of this Permit.

17.    INDEMNITY

       To the extent of its fault, Permittee, on behalf of itself and Permittee's agents, Sub-
Permittees, vendors, visitors and invitees (collectively "Parties") shall indemnify, defend and
hold harmless City and Landlord, their officers, agents, employees, vendors, and contractors, and
each of them, from and against any and all demands, claims, legal or administrative proceedings,
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any resulting losses, costs, penalties, fines, liens, judgments, damages and liabilities of any kind
(collectively "Losses"), expressly including but not limited to (a) any damage to or destruction
of any property leased by the City and in the custody of Permittee negligently caused by
Permittee or Parties relating in any manner to any use or activity under this Permit; (b) any
accident, injury to or death of a person, including, without limitation, Parties, occurring in the
Permit Area, either (i) during an event booked by Permittee, or (ii) during any set-up or
breakdown of such event prior or subsequent to such event pursuant to this Agreement; ( c) any
default by Permittee in the observation or performance of any of the terms, covenants or
conditions of this Permit to be observed or performed on Permittee's part subject to any
applicable cure period; (d) the use, occupancy, conduct or management, or manner of use,
occupancy, conduct or management by Permittee or Parties of the Permit Area; (e) any
construction or other work undertaken by Permittee or Parties on or about the Permit Area during
the Term of this Permit; or (f) any acts, omissions or negligence of Permittee or Permittee's
Parties, in, on or about the Permit Area except to the extent that such Indemnity is void or
otherwise unenforceable under any applicable Laws in effect on or validly retroactive to the date
of this Permit and further except to the extent such Losses arise from the gross negligence qr
willful misconduct and omissions of the City or City Agents and all persons acting by, through
or under each of them. Permittee shall be entitled to prompt reimbursement from the City of any
cost incurred above or amount retained above Permittee's percentage of liability for the
underlying claim or issue to the extent attributable to the gross negligence or willful misconduct
of the City.

        The foregoing Indemnity shall include, without limitation, reasonable fees of attorneys,
consultants and experts and related costs and City's and Landlord's costs of investigating any
Loss. Permittee specifically acknowledges and agrees that it has an immediate and independent
obligation to defend City and Landlord from any claim which actually or potentially falls within
this indemnity provision even if such allegation is or may be groundless, fraudulent or false,
which obligation arises at the time such claim is tendered to Permittee by City or Landlord and
continues at all times thereafter. Permittee's obligations under this Section shall survive the
expiration or sooner termination of this Permit. Notwithstanding anything contained herein to the
contrary, in no event shall Permittee be responsible for damages exceeding the limits of the
insurance required herein except if such damages are caused by the gross negligence or willful
misconduct of Permittee. Permittee shall have no obligation to repair, restore or reconstruct the
Permit Area (or to pay for the same) in the event the Permit Area are damaged or destroyed by
an earthquake or subsidence or by any other uninsured casualty.

18.    "AS IS" CONDITION OF PERMIT AREA; DISABILITY ACCESS;
       DISCLAIMER OF REPRESENTATIONS

        Permittee accepts the Permit Area in its "AS IS" condition, without representation or
warranty of any kind by Landlord or City, and their respective officers, agents or employees,
including, without limitation, the suitability, safety, or duration of availability of the Permit Area
or any facilities on the Permit Area for Permittee's use. Without limiting the foregoing, this
Permit is made subject to all applicable laws, rules and ordinances governing the use of the
Permit Area, and to any and all covenants, conditions, restrictions, easements, encumbrances,
claims of title and other title matters affecting the Permit Area, whether foreseen or unforeseen,
and whether such matters are of record or would be disclosed by an accurate inspection or
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survey. It is Permittee's sole obligation to conduct an independent investigation of the Permit
Area and all matters relating to its use of the Permit Area hereunder, including, without
limitation, the suitability of the Permit Area for such uses. Permittee, at its own expense, shall
obtain such permission or other approvals from any third parties with existing rights as may be
necessary for Permittee to make use of the Permit Area in the manner contemplated hereby. If a
governmental agency with jurisdiction prohibits Permittee's continued use of the Permit Area for
the activities described in this Permit, then Permittee shall have the right to terminate this Permit
upon five (5) days written notice to City, which notice will include a copy of the letter or order
that prohibits the continued use. Permittee's outstanding obligations, if any, under this Permit
shall survive any such termination.

       Under California Civil Code Section 1938, to the extent applicable to this Permit,
Permittee is hereby advised that the Permit Area has not undergone inspection by a Certified
Access Specialist to determine whether it meets all applicable construction-related accessibility
requirements. Permittee is hereby advised that portions of the Permit Area do not meet all
applicable construction-related accessibility requirements pursuant to California Civil Code
Section 55.53. Permittee acknowledges that before the execution of this Permit, City provided
Permittee with, and Permittee signed, the Disability Access Obligations Notice described in
Section 38.3 of the San Francisco Administrative Code. City and Permittee each agree to use
reasonable efforts to notify the other party if making any alterations or improvements that might
impact accessibility to the Permit Area under any disability access laws.

19.      NO ASSIGNMENT

        This Permit is personal to Permittee and shall not be assigned, conveyed or otherwise
transferred by Permittee under any circumstances. Any attempt to assign, convey or otherwise
transfer this Permit shall be null and void and cause the immediate termination and revocation of
this Permit. Notwithstanding the foregoing, Permittee shall have the right to license the use of
the Permit Area to Sub-permittees for events.

20.      NO JOINT VENTURES OR PARTNERSHIP; NO AUTHORIZATION

        This Permit does not create a partnership or joint venture between City and Permittee as
to any activity conducted by Permittee on, in or relating to the Permit Area. Permittee is not a
State actor with respect to any activity conducted by Permittee on, in, or under the Permit Area.
The giving of this Permit by City does not constitute authorization or approval by City of any
activity conducted by Permittee on, in or relating to the Permit Area.

21.      NON-DISCRIMINATION

         21.1   Covenant Not to Discriminate

        In the performance of this Permit, Permittee agrees not to discriminate against any
employee of, any City employee working with Permittee, or applicant for employment with
Permittee, or against any person seeking accommodations, advantages, facilities, privileges,
services, or membership in all business, social, or other establishments or organizations, on the
basis of the fact or perception of a person's race, color, creed, religion, national origin, ancestry,

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 age, height, weight, sex, sexual orientation, gender identity, domestic partner status, marital
 status, disability or Acquired Immune Deficiency Syndrome or HIV status (AIDS/HIV status), or
 association with members of such protected classes, or in retaliation for opposition to
 discrimination against such classes.

         21.2    Sub-permits and Contracts

         Permittee shall include in all sub-permits and contracts relating to the Permit Area a non-
 discrimination clause applicable to such sub-permittee and contract in substantially the form of
 Subsection 23 .1 above. In addition, Permittee shall incorporate by reference in all sub-permits
 and contracts the provisions of Sections 12B.2(a), 12B.2(c)-(k), and 12C.3 of the San Francisco
 Administrative Code and shall require all sub-permittees and contractors to comply with such
 provisions. Permittee's failure to comply with the obligations in this Subsection shall constitute a
 material breach of this Permit.

         21.3    Non-Discrimination in Benefits

          Permittee does not as of the date of this Permit and will not during the term of this
  Permit, in any of its operations in San Francisco, on real property owned by City, or where the
  work is being performed for the City or elsewhere within the United States, discriminate in the
  provision of bereavement leave, family medical leave, health benefits, membership or
  membership discounts, moving expenses, pension and retirement benefits or travel benefits, as
· well as any benefits other than the benefits specified above, between employees with domestic
  partners and employees with spouses, and/or between the domestic partners and spouses of such
  employees, where the domestic partnership has been registered with a governmental entity
  pursuant to state or local law authorizing such registration, subject to the conditions set forth in
  Section 12B.2(b) of the San Francisco Administrative Code.

         21.4    Condition to Permit

         As a condition to this Permit, Permittee shall execute the "Chapter 12B Declaration:
 Nondiscrimination in Contracts and Benefits" form (FormCMD-12B-101) with supporting
 documentation and secure the approval of the form by the San Francisco Contract Monitoring
 Division (the "CMD"). Permittee hereby represents that before execution of this Permit,
 (i) Permittee executed and submitted to the CMD Form CMD-12B-101 with supporting
 documentation, and (ii) the CMD approved such form.

         21.5   Incorporation of Administrative Code Provisions by Reference

         The provisions of Chapters 12B and 12C of the San Francisco Administrative Code are
 incorporated in this Section by reference and made a part of this Permit as though fully set forth
 herein. Permittee shall comply fully with and be bound by all of the provisions that apply to this
 Permit under such Chapters of the Administrative Code, including the remedies provided in such
 Chapters. Without limiting the foregoing, Permittee understands that pursuant to
 Sections 12B.2(h) and 12C.3(g) of the San Francisco Administrative Code, a penalty of Fifty
 Dollars ($50) for each person for each calendar day during which such person was discriminated


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against in violation of the provisions of this Permit may be assessed against Permittee and/or
deducted from any payments due Permittee.

22.     TROPICAL HARDWOODS AND VIRGIN REDWOOD BAN

        The City and County of San Francisco urges companies not to import, purchase, obtain or
use for any purpose, any tropical hardwood, tropical hardwood wood product, virgin redwood or
virgin redwood wood product, except as expressly permitted by the application of
Sectfons 802(b) and 803(b) of the San Francisco Environment Code. Permittee agrees that,
except as permitted by the application of Sections 802(b) and 803(b ), Permittee shall not use or
incorporate any tropical hardwood, tropical hardwood wood product, virgin redwood or virgin
redwood wood product in the performance of this Permit.

23.     NOTIFICATION OF LIMITATIONS ON CONTRIBUTIONS

         Through its execution of this Permit, Permittee acknowledges that it is familiar with
 Section 1.126 of the San Francisco Campaign and Governmental Conduct Code, which prohibits
 any person who contracts with the City for the selling or leasing of any land or building to or
 from the City whenever such transaction would require the approval by a City elective officer,
 the board on which that City elective officer serves, or a board on which an appointee of that
 individual serves, from making any campaign contribution to (1) the City elective officer, (2) a
 candidate for the office held by such individual, or (3) a committee controlled by such individual
 or candidate, at any time from the commencement of negotiations for the contract until the later
'of either the termination of negotiations for such contract or six months after the date the contract
 is approved. Permittee acknowledges that the foregoing restriction applies only if the contract or
a combination or series of contracts approved by the same individual or board in a fiscal year
have a total anticipated or actual value of $50,000.or more. Permittee further acknowledges that
the prohibition on contributions applies to each Permittee; each member of Permittee's board of
directors, and Permittee's chief executive officer, chief financial officer and chief operating
officer; any person with an ownership interest of more than twenty percent (20%) in Permittee;
any subcontractor listed in the contract; and any committee that is sponsored or controlled by
Permittee. Additionally, Permittee acknowledges that Permittee must inform each of the persons
described in the preceding sentence of the prohibitions contained in Section 1.126. Permittee
further agrees to provide to City the names of each person, entity or committee described above.

24.     POSSESSORY INTEREST TAXES

        Permittee recognizes and understands that this Permit may create a possessory interest
subject to property taxation and that Permittee may be subject to the payment of property taxes
levied on such interest under applicable law. Permittee agrees to pay taxes of any kind, including
possessory interest taxes, if any, that may be lawfully assessed on Permittee's interest under this
Permit or use of the Permit Area pursuant hereto and to pay any other taxes, excises, licenses,
permit charges or assessments based on Permittee's usage of the Permit Area that may be
imposed upon Permittee by applicable law, including without limitation, any Community
Business District assessments, if any. Permittee shall pay all of such charges when they become
due and payable and before delinquency.


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25.     PESTICIDE PROHIBITION

        Permittee shall comply with the provisions of Section 308 of Chapter 3 of the San
Francisco Environment Code (the "Pesticide Ordinance") which (a) prohibit the use of certain
pesticides on City property, (b) require the posting of certain notices and the maintenance of
certain records regarding pesticide usage and (c) require Permittee to submit to Department of
Environment and the Historic Preservation Coordinator in the Planning Department an integrated
pest management ("IPM") plan that (i) lists, to the extent reasonably possible, the types and
estimated quantities of pesticides that Permittee may need to apply to the Permit Area during the
term of this Permit, (ii) describes the steps Permittee will take to meet the City's IPM Policy
described in Section 300 of the Pesticide Ordinance, and (iii) identifies, by name, title, address
and telephone number, an individual to act as the Permittee's primary IPM contact person with
the City. In addition, Permittee shall comply with Sections 303(a) and 303(b) of the Pesticide
Ordinance.

26.     PROHIBITION OF TOBACCO SALES AND ADVERTISING

        Permittee acknowledges and agrees that no advertising of cigarettes or tobacco products
is allowed on the Permit Area: This advertising prohibition includes the placement of the name
of a company producing, selling or distributing cigarettes or tobacco products or the name of any
cigarette or tobacco product in any promotion of any event or product. This advertising
prohibition does not apply to any advertisement sponsored by a state, local, nonprofit or other
entity designed to (a) communicate the health hazards of cigarettes and tobacco products, or (b)
encourage people not to smoke or to stop smoking.

27.     CONFLICTS OF INTEREST.

        Through its execution of this Permit, Permittee acknowledges that it is familiar with the
provisions of Section 15.103 of the San Francisco Charter, Article III, Chapter 2 of City's
Campaign and Governmental Conduct Code, and Sections 87100 et seq. and Sections 1090
et seq. of the Government Code of the State of California, and certifies that it does not know of
any facts which would constitute a violation of said provision, and agrees that if Permittee
becomes aware of any such fact during the term of this Permit, Permittee shall immediately
notify the City.

28.     FOOD SERVICE WASTE REDUCTION

        Permittee agrees to comply fully with and be bound by all of the provisions of the Food
Service Waste Reduction Ordinance, as set forth in the San Francisco Environment Code,
Chapter 16, including the remedies provided therein, and implementing guidelines and rules. The
provisions of Chapter 16 are incorporated herein by reference and made a part of this Permit as
though fully set forth herein. This provision is a material term of this Permit. By entering into
this Permit, Permittee agrees that if it breaches this provision, City will suffer actual damages
that will be impractical or extremely difficult to determine. Without limiting City's other rights
and remedies, Permittee agrees that the sum of One Hundred Dollars ($100.00) liquidated
damages for the first breach, Two Hundred Dollars ($200.00) liquidated damages for the second
breach in the same year, and Five Hundred Dollars ($500.00) liquidated damages for subsequent

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breaches in the same year is a reasonable estimate of the damage that City will incur based on the
violation, established in light of the circumstances existing at the time this Permit was made.
Such amounts shall not be considered a penalty, but rather agreed monetary damages sustained
by City because of Permittee's failure to comply with this provision.

29.     BOTTLED DRINKING WATER

         Unless exempt, Permittee agrees to comply fully with and be bound by all of the
provisions of the San Francisco Bottled Water Ordinance, as set forth in San Francisco
Environment Code Chapter 24, including the administrative fines, remedies, and implementing
regulations provided therein, as the same may be amended from time to time. The provisions of
Chapter 24 are incorporated herein by reference and made a part of this Permit as though fully
set forth



30.    NOTICES

        Except as otherwise expressly provided herein, any notices given under this Permit shall
be effective only if in writing and given by delivering the notice in person, by sending it first
class mail or certified mail, with a return receipt requested, or overnight courier, return receipt
requested, with postage prepaid, addressed as follows:

               City:           Real Estate Division
                               City and County of San Francisco
                               25 Van Ness Avenue, Suite 400
                               San Francisco, California 94102
                               Attn: Director of Property
                               Re: Fillmore Heritage Center

Permittee:                     San Francisco Housing Development Corporation
                               4439 Third Street
                               San Francisco, CA 94124
                               415-822-1022
                               Attn: Executive Director, David Sobel
                               Re: Fillmore Heritage Center


Notices herein shall be deemed given two (2) days after the date when it shall have been mailed
if sent by first class, certified or overnight courier, or upon the date personal delivery is made.

31.    CRIMINAL HISTORY IN HIRING AND EMPLOYMENT DECISIONS

       (a)     Unless exempt, Permittee agrees to comply with and be bound by all of the
provisions of San Francisco Administrative Code Chapter 12T (Criminal History in Hiring and
EmploymentDecisions; "Chapter 12T"), which are hereby incorporated herein by reference as
the same may be amended from time to time, with respect to applicants and employees of
Permittee who would be or are performing work at the Permit Area.
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        (b)    Permittee shall incorporate by reference the provisions of Chapter 12T in all sub-
permits of some or all of the Permit Area, and shall require all Sub-Permittees to comply with
such provisions. Permittee's failure to comply with the obligations in this subsection shall
constitute a material breach of the Permit.

        (c)     Permittee and Sub-Permittees shall not inquire about, require disclosure of, or if
such information is received, base an Adverse Action on an applicant's or potential applicant for
employment, or employee's: (1) Arrest not leading to a Conviction, unless the Arrest is
undergoing an active pending criminal investigation or trial that has not yet been resolved;
(2) participation in or completion of a diversion or a deferral of judgment program; (3) a
Conviction that has been judicially dismissed, expunged, voided, invalidated, or otherwise
rendered inoperative; (4) a Conviction or any other adjudication in the juvenile justice system;
(5) a Conviction that is more than seven years old, from the date of sentencing; or
(6) information pertaining to an offense other than a felony or misdemeanor, such as an
infraction.

        (d)     Permittee and Sub-Permittees shall not inquire about or require applicants,
potential applicants for employment, or employees to disclose on any employment application
the facts or details of any conviction history, unresolved arrest, or any matter identified in
subsection (c) above. Permittee and Sub-Permittees shall not require such disclosure or make
such inquiry until either after the first live interview with the person, or after a conditional offer
of employment.

        (e)    Permittee and Sub-Permittees shall state in all solicitations or advertisements for
employees that are reasonably likely to reach persons who are reasonably. likely to seek
employment with Permittee or Sub-Permittee at the Permit Area, that the Permittee or Sub-
Permittee will consider for employment qualified applicants with criminal histories in a manner
consistent with the requirements of Chapter 12T.

        (f)    Permittee and Sub-Permittees shall post the notice prepared by the Office of
Labor Standards Enforcement ("OLSE"), available on OLSE's website, in a conspicuous place
at the Permit Area and at other workplaces within San Francisco where interviews for job
opportunities at the Permit Area. The notice shall be posted in English, Spanish, Chinese, and
any language spoken by at least five percent (5%) of the employees at the Permit Area or other
workplace at which it is posted.

        (g)      Permittee and Sub-Permittees understand and agree that upon any failure to
comply with the requirements of Chapter 12T, the City shall have the right to pursue any rights
or remedies available under Chapter 12T or the Permit, including but not limited to a penalty of
$50 for a second violation and $100 for a subsequent violation for each ,employee, applicant or
other person as to whom a violation occurred or continued, or termination or suspension in whole
or in part of the Permit.

       (h)    If Permittee has any questions about the applicability of Chapter 12T, it
may contact the City's Real Estate Division for additional information. City's Real Estate
Division may consult with the Director of the City's Office of Contract Administration
who may also grant a waiver, as set forth in Section 12T.8.

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32.    SEVERABILITY

        If any provision of this Permit or the application thereof to any person, entity or
circumstance shall be invalid or unenforceable, the remainder of this Permit, or the application of
such provision to persons, entities or circumstances other than those as to which it is invalid or
unenforceable, shall not be affected thereby, and each other provision of this Permit shall be
valid and be enforceable to the fullest extent permitted by law, except to the extent ~hat
enforcement of this Permit without the invalidated provision would be unreasonable or
inequitable under all the circumstances or would frustrate a fundamental purpose of this Permit.

33.    COUNTERPARTS

        This Permit may be executed in two or more counterparts, each of which shall be deemed
an original, but all of which taken together shall constitute one andthe same instrument.

34.    SUNSHINE ORDINANCE

        Permittee understands and agrees that City's Sunshine Ordinance (San Francisco
Administrative Code Chapter 67) and the State Public Records Law (Gov't Code Section 6250
et seq.) (together with any amendments, supplements and successor statutes and ordinances, are
hereinafter referred to as the "Public Records Laws") apply to this Permit, and any and all
records, information, and materials submitted to City. Accordingly, any and all such records,
information, and materials may be subject to public disclosure in accordance with Public
Records Laws, subject to any exemptions or exemptions set forth in the Public Records Laws.

35.    COOPERATIVE DRAFTING

        This Permit has been drafted through a cooperative effort of both parties, and both parties
have had an opportunity to have the Permit reviewed and revised by legal counsel. No party shall
be considered the drafter of this Permit, and no presumption or rule that an ambiguity shall be
construed against the party drafting the clause shall apply to the interpretation or enforcement of
this Permit.

36.    GENERAL PROVISIONS

        (a) This Permit may be amended or modified only by a writing signed by City and
Permittee. (b) No waiver by any party of any of the provisions of this Permit shall be effective
unless in writing and signed by an officer or other authorized representative, and only to the
extent expressly provided in such written waiver. (c) All approvals and determinations of City
requested, required or permitted hereunder may be made in the sole and absolute discretion of
the Director of Property or other authorized City official. (d) This instrument (including the
exhibit(s) hereto) contains the entire agreement between the parties and all prior written or oral
negotiations, discussions, understandings and agreements are merged herein. (e) The section and
other headings of this Permit are for convenience of reference only and shall be disregarded in
the interpretation of this Permit. (t) Time is of the essence. (g) This Permit shall be governed by
California law and the City's Charter. (h) If either party commences an action against the other
or a dispute arises under this Permit, the prevailing party shall be entitled to recover from the
other reasonable attorneys' fees and costs. For purposes hereof, reasonable attorneys' fees of
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City shall be based on the fees regularly charged by private attorneys in San Francisco with
comparable experience. (i) If Permittee consists of more than one person then the obligations of
each person shall be joint and several. (j) Permittee may not record this Permit or any
memorandum hereof. (k) Subject to the prohibition against assignments or other transfers by
Permittee hereunder, this Permit shall be binding upon and inure to the benefit of the parties and
their respective heirs, representatives, successors and assigns. (I) In the event City sells or
otherwise conveys the property burdened by this Permit this Permit may be automatically be
revoked upon 30 days' written notice.


                           [SIGNATURES ON FOLLOWING PAGE]




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         Pennittee represents and warrants to City that it has read and understands the contents of
  this Pennit and agrees to comply with and be bound by all ofits provisions.
                                              PERMITTEE:
                                              SAN FRANCISCO HOUSING DEVELOPMENT
                                              CORPORATION, a California non-profit
                                              organization

                                              By:_ _ _ _ _ _ _......,.._ _ __
                                                   Name: David J. Sobel
                                                   Title: Executive Director

                                              CITY:
                                              CITY AND COUNTY OF SAN FRANCISCO,
                                              a municipal corporation




   CONSENTED TO:

   By:_ _ _ _ _ _ _ _ _ _ __
      Nadia Sesay, Executive Director
      Office of Community Investment and Infrastructure
      Successor Agency to the Redevelopment Agency of San
      Francisco

   APPROVED AS TO FORM:
   DENNIS J. HERRERA, City Attorney




                                          [Signature Page]
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        Permittee represents and warrants to City that it has read and understands the contents of
this Permit and agrees to comply with and be bound by all of its provisions.

                                             PERMITTEE:

                                             SAN FRANCISCO HOUSING DEVELOPMENT
                                             CORPORATION, a California non-profit
                                             organization


                                             By:     ~JJ4M
                                                   Name:DaV·a J. Sobel
                                                   Title: Executive Director


                                             CITY:

                                            CITY AND COUNTY OF SAN FRANCISCO,
                                            a municip&l corporation



                                            By: _ _ _ _ _ _ _ _ _ _ _ __
                                                Claudia J. Gorham
                                                Deputy Managing Director
                                                (pursuant to San Francisco Administrative
                                                Code Section 23.31)


CONSENTED TO:


By: _ _ _ _ _ _ _ _ _ _ _ __
    Nadia Sesay, Executive Director
    Office of Community Investment and Infrastructure
    Successor Agency to the Redeve!Opment Agency of San
    Francisco


APPROVED AS TO FORM:

DENNIS J. HERRERA, City Attorney


By: _ _ _ _ _ _ _ _ _ _ _ _ __
    Heidi J. Gewertz, Deputy City Attorney




                                        [Signature Page]
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        Permittee represents and warrants to City that it has read and understands the contents of
this Permit and agrees to comply with and be bound by all of its provisions.                       ·

                                             PERMITTEE:

                                             SAN FRANCISCO HOUSING DEVELOPMENT
                                             CORPORATION, a California non-profit
                                             organization


                                             By: _ _ _ _ _ _ _ _ _ _ _ __
                                                 Name: David J. Sobel
                                                 Title: Executive Director


                                             CITY:

                                             CITY AND COUNTY OF SAN FRANCISCO,
                                             a municipal corporation



                                             By: _ _~--~-------­
                                                 Claudia J. Gorham
                                                 Deputy Managing Director
                                                 (pursuant to San Francisco Administrative
                                                 Code Section 23 .31)


CONSENTED TO:                                    _
                         0
By:
       ,J)&-~~L
      Nadia Sesay, Executive Director
      Office of Community Investment and Infrastructure
      Successor Agency to the Redevelopment Agency of San
      Francisco


APPROVED AS TO FORM:

DENNIS J. HERRERA, City Attorney


By: _ _ _ _ _ _ _ _ _ _ _ __
    Heidi J. Gewertz, Deputy City Attorney




                                         [Signature Page]
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                            EXHIBIT A

                   DEPICTION OF PERMIT AREA

                           [See Attached]




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                                                                                    EXHIBIT A
                                                                  Permit Area & Restrictions on Use
Legend:

                              Lobby

                              Stage; Theate1• Mezzanine

                              Theater

                             Lounge; Restrooms; Screening Room; Gallery

 -                            Kitchen

 -                           Restaurant

Note: Theater and Stage = Concert Hall

                                                                                    First Floor
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                                                          First Floor
                                            First Floor (Cont.)




                                        Mezzanine/2nd Floor
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                                      Restrictions on Use


Lobby: Use of Lobby is non-exclusive to Permittee.
Stage: Stage shall only be used for the purpose of performances, community forums, special
events, programs, and a variety of other community serving activites contemplated under this
Permit and shall be supervised by Permittee to ensure safety and caution is used at all times.
Stage & Theater Mezzanine: Permittee shall post a sign that neither Stage nor Theater
Mezzanine is ADA accessible.
Theater: Subject to conditions of any permits issued by regulatory agencies, Permittee shall
ensure that adequate ADA seating is provided when Theater is used.
Lounge; Restrooms; Screening Room; Gallery: No special restrictions beyond those listed in
the Permit.
Kitchen***: The Kitchen is not to be used or accessible by anyone other than Permittee until
such point in time that Permittee demonstrates it has all necessary permits to occupy the Kitchen
area and the Director of Property has confirmed the permitted use of this area, in writing.
Restaurant: Use of this area is subject to the conditions of any required permits issued by
regulatory agencies.
Concert Hall: The Theater and Stage, collectively.
Mezzanine Restaurant & Mezzanine Bar***: Permitte shall not allow public acceses to these
areas until such time as the elevators are operational and certified by the State of California,
allowing equal access.


Note: Permitted Uses and Non-Permitted Uses I Prohibited Activities shall also be subject to the
Permit, including but not limited to Section 2 and Exhibit E.




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                                            EXHIBITB

                           REQUIRED COMMUNITY BENEFITS

Section 1.01 In addition to planned programming, the "Fillmore Heritage Center Equity
Partners" (New Community Leadership Foundation, the San Francisco Housing Development
Corporation and Hard Hitta Promotions) will provide the following educational opportunities
and community benefits during the term of this Permit at the Fillmore Heritage Center:


a) The "Partners" will conduct at least 48 housing counseling and financial empowerment
workshops on-site. These workshops include, but are not limited to:

            o   Financial Empowerment workshops

            o   Credit Repair workshops

            o   Debt Reduction workshops

            o   Rental Readiness workshops

           o    First-Time Homebuyer workshops

San Francisco Housing Development Corporation will staff up to (2) FTE housing counselors
on-site for a minimum of 3 5 hours per week to conduct workshops, housing counseling and
referral services. This staffing will start within fourteen (14) days of the effective date of this
Permit.


b) New Community Leadership Foundation will conduct at least 4 educational and
community development workshops per month for local transitional age youth beginning
in November 2018, including but not limited to:

       o Technology, media and entertainment workforce development workshops to provide
         high-skilled training, as well as advised on job application procedures and best
         practices.

       o   Skills-based workshops in computer literacy, security, janitorial services, food
           service, and event production.

c) The "Partners" will provide a weekly series of free Volunteer Income Tax Assistance (VITA)
services and tax consulting to low-to-moderate income individuals and families, beginning in
February 2019.

d) The "Partners" will provide daily voter registration and outreach services.



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                                             EXHIBITC

                                    WAIVER AND RELEASE

In consideration for being granted permission to operate as Vendor/Sub-Permittee on property
leased by the City and County of San Francisco ("City") and owned by the Successor Agency to
the Former Redevelopment Agency ("OCII") at Fillmore Heritage Center at 1320-1330 Fillmore
Street in the City and County of San Francisco (the "City Leased Property"), from October 1, 2018
through March 31, 2019, I, the undersigned ("Releaser"), agree that the City and OCII, and any
and all of its officers, directors, agents, employees, contractors, or subcontractors (collectively, the
"Released Parties"), shall not be responsible or liable to Releas9r for and, to the fullest extent
allowed by law, Releaser hereby waives all rights against the Released Parties and releases them
from, any and all claims, demands, losses, liabilities, damages, costs, liens, injuries, penalties,
fines, lawsuits or other proceedings, including, but not limited· to, incidental or consequential
damages and attorneys' fees, relating to any injury, accident or death of any person, or loss or
damage to any property (collectively, "Losses"), arising out of or in any way relating to, such
operations or my entry onto or use of the City Leased Property. I understand that the City nor
OCII make no representations or warranties, express or implied, regarding the condition of the
City Leased Property on which my operations will occur and I agree to enter and operate on the
City Leased Property at my sole risk.


"RELEASOR"



Print Name:  ~~~~~~~~~~~-




Date:-------------




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                                            EXHIBITD

                                          LOCAL HIRE

 For any Improvements that require a building permit and are estimated to cost more than
 $750,000, and for any Events held at the Permit Area where construction costs are estimated to
 cost more than $400,000, Permittee shall comply with the following local hire requirements:

 Local Hire. Any undefined, initially-capitalized term used in this Section shall have the meaning
 given to such term in San Francisco Administrative Code Section 6.22(G) (the "Local Hiring
 Policy"). As a condition of this Permit, Permittee agrees that it shall comply with the
 requirements of the Local Hiring Policy applicable to the Improvements and shall require its
 subpermittees to comply with those requirements to the extent applicable. Before starting any
 Improvement Work, Permittee shall contact City's Office of Economic Workforce and
 Development ("OEWD") to verify if any Local Hiring Ordinance requirements apply to the
 Improvement Work. Permittee shall comply with all such applicable requirements. Permittee's
 failure to comply with its obligations under this Section shall constitute a material breach of this
 Permit and may subject Permittee and its subpermittees to the consequences of noncompliance
 specified in the Local Hiring Policy, including but not limited to penalties. Without limiting the
 foregoing:

  (a)    For a Covered Project estimated to cost more than $750,000, Permittee and its
  subpermittees shall comply with the applicable mandatory participation levels for Project Work
  Hours performed by Local Residents, Disadvantaged Workers, and Apprentices as set forth in
· San Francisco Administrative Code Section 6.22(G)(4).

 (b)     For a Covered Project estimated to cost more than $1,000,000, Permittee and its
 subpermittees shall prepare and submit a local hiring plan to OEWD for approval as set forth in
 San Francisco Administrative Code Section 6.22(G)(6) prior to commencing any of the work
 subject to the Local Hiring Policy.

 (c)     Permittee and its subpermittees shall comply with the applicable record keeping and
 reporting requirements and shall cooperate in City inspections and audits for compliance with the
 Local Hiring Policy, including access to employees of its contractors and subcontractors and
 other witnesses at the Permit Area.

 (d)     Permittee agrees that (i) Permittee shall comply with all applicable requirements of the
 Local Hiring Policy; (ii) the provisions of the Local Hiring Policy are reasonable and achievable
 by Permittee and its subpermittees; and (iii) Permittee has had, and its subpermittees will have
 prior to signing their permits for the Permit Area, a full and fair opportunity to review and
 understand the terms of the Local Hiring Policy.




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                                           EXHIBITE

                                   NON-PERMITTED USES

                            (AND CONDITIONAL EXCEPTIONS)

Section 18.2 of the Master Lease defines prohibited uses of the Property/Permit Area (the "Non- ·
Permitted Uses"), consisting of:

Section 18.2 (a) Prohibited Retail and Transient Uses. Shops, restaurants or theaters which
deal predominately in, or otherwise predominately sell, produce, promote, display or are
associated with, pornographic, lewd, or 'adult sexual entertainment' materials or performances;
massage parlors; schools and/or professional offices except for management or administrative
offices of Tenant; charitable institutions not selling permitted goods or services; wholesale
operations (but not discount offerings to the general public); retail shops (excluding antique
stores) carrying primarily major appliances and/or home or office furniture or equipment that
cannot be hand carried after purchase; hotels, hostels or lodging or other transient occupancy
facilities; non-service parking; and any unlawful or other use of a type not generally considered
appropriate for a first-class retail project conducted in accordance with good and generally
accepted standards of operation.

Section 18.2 (b) Prohibited Office/Institutional Uses. Office space (other than office space
connected with and required for a use otherwise permitted hereunder), including, without
limitation, banks, financial institutions, government agencies, nonprofit offices of all kinds,
brokerage and security operations, travel agencies, real estate agencies, medical/healthcare
offices, clinics and professional offices.

Section 18.2 (c) Prohibited Entertainment, Outdoor Facilities. Outdoor, active (physical)
recreation components requiring the installation of permanent improvements such as tennis
courts, shuffleboard, par course or swimming pool, excluding temporary improvements for
special events or incidental uses related to major indoor uses; live animal displays; boat rides;
bungee jumping; typical pinball or video game arcades (unless such arcades constitute a use that
is incidental to a permitted use hereunder); outdoor amusement rides (except temporary use for
special events, or as related to major indoor uses); service facilities unrelated to major uses;
curiosity attractions such as wax museums; private clubs and facilities; large freestanding
amusement rides; and typical carnival pitch games.


CONDITIONALLY PERMITTED USES

(as of October 26, 2018)

The Permittee is proposing uses under this Permit which are prohibited under the Master
Lease. However, City in its proprietary capacity under this Permit, may allow, with the written
consent of the Landlord, in its sole and absolute discretion, certain Non-Prohibited Uses to be
permitted under this Permit ("Conditionally Permitted Uses"), subject to compliance with
applicable zoning, particularly Section 760 of the San Francisco Planning Code ("Planning
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Code"). Conditionally Permitted Uses do not presume to legally allow such uses, nor does such
conditional allowance supersede any regulatory requirements or restrictions.

At the request'of the City, the Landlord has agreed to allow, as may be allowable under laws and
regulations, the Conditionally Permitted Uses listed below on a conditional, temporary basis for
the term of this Permit only (subject to revocation stated below), to facilitate the community
benefits objectives of this Permit:

   •   Schools and/or professional offices, so long as approved by City and deemed to meet the
       community benefits objective of this Permit;

   •   Office space, so long as it is connected with and required for a use otherwise permitted,
       are approved by the City and deemed by City to be consistent with the community
       benefits objectives of this Permit;

   •   Office space for government agencies, nonprofit offices, and professional services, so
       long as they are allowable under laws and regulations, are approved by the City and are
       deemed by City to meet the community benefits objectives of this Permit;

   •   Temporary improvements or improvements in general as may be approved by City and
       Landlord, and deemed by City to serve the community benefits objectives of this Permit
       and subject to any regulatory requirements or approvals; and,

   •   Service facilities related to uses permitted under this Permit, as approved by the City and
       as deemed by City to be consistent with the community benefits objectives of this Permit.




CITY RESERVES THE RIGHT TO REVOKE ANY CONDITIONALLY PERMITED
USE AND RECLASSING AS NON-PERMITTED USE, AT ANY TIME, EITHER IN ITS
SOLE DISCRETION OR UPON NOTICE FROM LANDLORD. ANY SUCH NOTICE
SHALL BECOME EFFECTIVE IMMEDIATELY AND CITY SHALL AMEND THE
PERMIT TO REFLECT CHANGES TO THIS EXHIBIT E. CONSENT OF
PERMITTEE IS NOT REQUIRED TO EFFECT SUCH AN AMENDMENT.




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